          Case 23-32810 Document 393 Filed in TXSB on 08/15/24 Page 1 of 5




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                       §
                                              §      CASE NO. 23-32810 (CML)
 Polaris Operating, LLC, et. al.,             §
                                              §
               Debtors.                       §      Chapter 11
                                              §
                                              §      (Jointly Administered)

      3CHA OIL AND GAS, LLC’S AND TATCH LLC’S OBJECTION TO
DEBTORS’ MOTION TO SELL THE WGU ENERGY EQUITY ASSET [DOC. NO. 383]

          COMES NOW 3CHA Oil and Gas, LLC (“3CHA”) and TATCH LLC (“TATCH”)

(collectively “3CHA/TATCH”), and files this their Objection to the Debtors’ Motion for (A) Entry

of an Order (I) Approving Bidding Procedures; (II) Authorizing Transfer(s) Outside the Ordinary

Course of Business; (III) Scheduling Bid Deadline, Auction Date, and Sale Hearing Date; (IV)

Approving Form of Notice Thereof; and (B) Entry of an Order After the Sale Hearing (I)

Authorizing and Approving the Debtors to Sell the WGU Energy, LLC Equity Asset; and (II)

Granting Related Relief [Doc. No. 383] (the “Sale Motion”) filed by the Debtors. In support of its

Objection, 3CHA and TATCH would show the Court as follows:

          3CHA/TATCH own a combined total of over fifty percent (50%) of the common shares

and preferred shares of the Debtors (Polaris and CCCB Energy Partners, LLC). This Objection is

limited to the Debtors’ potential auction of the WGU Energy, LLC Equity Asset, which is the

Debtors’ ownership interest in a water flood project in Oklahoma, known as the WGU Waterflood

Project (hereafter, the WGU Waterflood Assets). See Debtors’ Mot. [Doc. 383].

          Notably, 3CHA/TATCH did not object to the Debtors’ auction of their other two “buckets”

of assets: the Mesa Vista Assets or the Masterson Assets. However, the WGU Waterflood Assets
        Case 23-32810 Document 393 Filed in TXSB on 08/15/24 Page 2 of 5




are completely unlike the Mesa Vista and Masterson Assets in at least two important ways. First,

Polaris operated the Mesa Vista and Masterson Assets; whereas, it is a mere passive investor in

the WGU Waterflood Project (the WGU Waterflood Assets is Polaris’s investment in this Project).

Polaris has a substantial ownership percentage in the WGU Waterflood Project; however, as an

investor, it has no operational role. Hence, the concerns previously voiced to the Court about

Polaris not properly operating the Mesa Vista or Masterson Assets are of no concern here, because

the WGU Waterflood Project is operated by a completely different entity not in bankruptcy.

       Second, the Mesa Vista and Masterson Assets are fully-developed oil and gas interests that

Polaris operated for years. The Mesa Vista and Masterson Assets were mature in terms of their

production and, therefore, unlikely to substantially increase in value in the future. Hence, an

auction of the Mesa Vista and Masterson Assets was sensible.

       In stark contrast, the WGU Waterflood Assets are likely to substantially increase in value

over the next 12-18 months. The WGU Waterflood Project is still in the development phase. It is

3CHA’s and TATCH’s understanding that the operators of the Project are optimistic about its

prospects over the next 12-18 months, where they expect production to increase (likely

substantially). This substantial increase in production would, in turn, substantially increase the

value of the WGU Waterflood Assets (Polaris’s ownership interest in the WGU Waterflood

Project). Accordingly, 3CHA/TATCH are concerned that an auction now will generate far less

than a disposition later once the Project is more developed.

       Given that Debtors have no operational role in the WGU Waterflood Project, Debtors and

its creditors have the ability to wait at least another 12 months to afford the Project the time it

needs to transition from the development phase to the production phase, at which time the Debtors’

interest would be far more valuable than it is now.



                                                 2
        Case 23-32810 Document 393 Filed in TXSB on 08/15/24 Page 3 of 5




       Additionally, 3CHA and TATCH hereby adopt the Objection made by Black Oak Partners

(filed herein as Document No. 390) in which Black Oak objected to the proposed sale of the WGU

Water Flood Assets for a different reason. Black Oak’s Objection was based on the contract that

governs Debtors’ interest in the WGU Water Flood Assets. That contract contains several

provisions that appear to prohibit a transfer of Debtors’ interest, which the proposed bankruptcy

sale would violate.

       Moreover, Black Oak’s Objection has severe ramifications for the auction. Black Oak’s

Objection — which appears to be based on valid contractual provisions that prohibit a bankruptcy

sale — is likely to have already chilled the interest of potential purchasers. At minimum, the issues

that Black Oak raised will dramatically reduce the amount potential purchasers are willing to bid

given that, according to Black Oak, the purchaser’s acquisition would be null and void. Obviously,

a purchaser is unlikely to bid anywhere close to market value for an interest in an LLC where

immediately thereafter, the LLC and its members will have the ability to declare the purchaser’s

interest null and void — making its purchase worthless.

       In sum, the contractual issues regarding a transfer pursuant to a bankruptcy sale, as a

practical matter make a sale unwise at this point. Further, as Black Oak points out in its Objection,

the Project is still in the development phase. It has not yet reached the production phase.

Obviously, a sale while still in the development phase will yield far less than a sale, perhaps just

12 months from now, when it reaches the production phase. Hence, for the reasons stated in Black

Oak’s Objection [Doc. 390], and the additional reasons stated herein, 3CHA and TATCH hereby

object to the proposed sale [Doc. 383].




                                                 3
Case 23-32810 Document 393 Filed in TXSB on 08/15/24 Page 4 of 5




                           Respectfully submitted,

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                           AND TATCH LLC




                               4
       Case 23-32810 Document 393 Filed in TXSB on 08/15/24 Page 5 of 5




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on August 15, 2024, the foregoing was served upon
all counsel of record via the Court’s CM/ECF system.


                                                   /s/ Gregory K. Evans
                                                   Gregory K. Evans




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